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January 13, 2025

Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York

                 Re:      The New York Times Company v. Microsoft Corp. No.: 23-cv-11195; Daily
                          News, LP v. Microsoft Corp.: No. 1:24-cv-3285; The Center for
                          Investigative Reporting, Inc. v. OpenAI, Inc.: No. 1:24-cv-04872: Dispute
                          Regarding Microsoft’s Custodial Search Terms

Dear Magistrate Judge Wang:

       Plaintiffs The New York Times Company (“The Times”), Daily News, LP et al. (“Daily
News”), and the Center for Investigative Reporting (“CIR”) (collectively, the “News Plaintiffs”)
request that this Court address two ripe disputes concerning Microsoft’s collection and review of
custodial documents.

        Specifically, the News Plaintiffs request an order (1) setting a target search term hit count
cap of 600,000 custodial documents for Microsoft to collect and review, and (2) requiring
Microsoft, as part of that custodial review process, to collect documents dated through July 1,
2024. 1 Resolution of these disputes is necessary for discovery to proceed in a timely fashion.

        1. The Court Should Set a Target Hit Count Cap of 600,000 Custodial Documents.

       After over six months of negotiating search term proposals, it is time for these negotiations
to conclude so the parties can move on to the next phase of the case.

        The best path forward is a familiar one: this Court should resolve this dispute the same way
it resolved the News’ Plaintiffs’ analogous dispute with OpenAI—that is, to impose a target hit
count cap and direct the News Plaintiffs to tailor their proposals to meet that target. See Dkt. 304
at 3 (imposing a target hit count cap of 500,000 additional documents for OpenAI to review); Dkt.
365 at 4 (increasing target hit count to 600,000 after OpenAI was ordered to collect documents
from eight additional custodians). 2 This approach will allow the News Plaintiffs and Microsoft to

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  The parties have met and conferred about search terms on multiple occasions by email and videoconference,
including most recently on January 9, 2025. See also Ex. 1 (emails between counsel). During that meet-and-confer,
the parties discussed the two disputes summarized in this brief, but were unable to reach agreement.
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  The News Plaintiffs and OpenAI currently dispute “whether the 600,000 hit count ‘cap’ applies to all custodial
documents produced to date or only those produced after the October 30, 2024, conference.” Dkt. 365 at 4; see also
Dec. 3, 2024 Tr. at 61:3-64:21. Under the News Plaintiffs’ interpretation of the Court’s October 31, 2024 Order, the
total hit count cap for OpenAI would fall at around 730,000, since OpenAI had reviewed approximately 130,000
documents before The Times filed the motion to compel which resulted in the order compelling OpenAI to review
600,000 additional documents. See Dkt. 228-1 at 1; see also Dkt. 233-2 (OpenAI declarant characterizing The Times’s
search term motion as seeking OpenAI’s review of “new documents (i.e., not previously reviewed by OpenAI”)). The
News Plaintiffs’ most recent search term proposal yielded approximately 667,000 documents, which essentially splits
the difference between OpenAI’s understanding of the Court’s Order (600,000) and the News Plaintiffs’ understanding

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efficiently complete this process without wasting time disputing individual terms. This Court’s
previous selection of a target cap has already enabled the News Plaintiffs and OpenAI to make
significant progress toward concluding search term negotiations. See Dec. 3, 2024 Hearing Tr. at
60:23-25 (Counsel for News Plaintiffs noting that “We have been exchanging search term
proposals [with OpenAI], and we’ve seen a lot of progress with the parties agreeing on terms
because of the hit count cap”); id. at 60:14-15 (Counsel for OpenAI noting that “So we should be
able to get to 600 continuing to sort of slim down to the target weight”). Microsoft should be
subject to the same approach, which promises the same productive results.

         The target of 600,000 custodial documents is proportional given Microsoft’s substantial
role in these cases. As explained in The Times’s Complaint, Microsoft has been, and continues to
be, intimately involved in the training, development, and commercialization of Defendants’ large-
language models. FAC ¶ 66. Relatedly Microsoft has developed and commercialized user-facing
products, including Copilot, which violate the News Plaintiffs’ copyrights through the substitutive
outputs they provide in response to user prompts. FAC ¶¶ 112-17. Evidence of this and other
conduct is relevant to the claims against Microsoft for direct, contributory, and vicarious copyright
infringement, DMCA violations, trademark infringement, and unjust enrichment. E.g., Ex. 2 at 65
(July 2023 email exchange discussing


       The hit count target is also supported by caselaw. See, e.g., King v. Habib Bank Ltd., 2023
WL 3558773, at *2 (S.D.N.Y. Apr. 21, 2023) (Wang, M.J.) (ordering the defendant to review
additional documents, notwithstanding the defendant had already “review[ed] approximately
750,000 documents for prior search terms”); Fort Worth Employees’ Ret. Fund v. J.P. Morgan
Chase & Co., 297 F.R.D. 99, 103 (S.D.N.Y. 2013) (ordering the defendant to apply additional
search terms and review additional documents, notwithstanding the defendant “ha[d] already
conducted a search for ESI that yielded some 875,000 document hits”).

         2. Microsoft Should Collect and Review Documents Dated Through July 1, 2024.

         The News Plaintiffs and Microsoft also dispute the date range that Microsoft has applied
to its custodial document collections. Microsoft has limited its collections to documents dated on
or before December 27, 2023, which is the same day The Times filed its case. Put differently, and
subject to limited exceptions, 3 Microsoft is using the filing date of the News Plaintiffs’ first-filed
complaint as the cutoff for custodial document productions for all three News cases.

       Microsoft’s date cutoff is improper. Documents that post-date The Times’s Complaint are
relevant, including because The Times alleges ongoing misconduct. See FAC ¶ 167 (describing
“Defendants’ ongoing infringing conduct”); id. ¶ 66 (alleging that Microsoft “continues to”

(730,000). The News Plaintiffs have therefore proposed that OpenAI accept this most recent proposal, and that parties
be done proposing additional search terms, absent good cause.
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  Microsoft has stated that, in some cases, “where appropriate and relevant,” it has opted to review documents dated
through June 2024. Ex. 1 at 13. This vague and ad hoc approach will invariably lead to many more disputes, as the
parties continue to disagree about what is “relevant.” The more efficient and equitable path is to impose an across-
the-board cutoff date for document review, including because the cutoff date is tied to a target hit count cap, such that
any extension of the cutoff date will not result in Microsoft reviewing more documents than it otherwise would have.

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collaborate with OpenAI to infringe Times works). “Rule 26 does not limit discovery to pre-
complaint events in cases such as this in which the complaint alleges that [the wrongful conduct]
was continuing as of the date the complaint was filed.” Robco Distributors, Inc. v. Gen. Glass Int’l
Corp., 101 F.R.D. 547, 548 (E.D.N.Y. 1984); see also Deluxe Fin. Servs., LLC v. Shaw, 2017 WL
7369890, at *5 (D. Minn. Feb. 13, 2017) (“it may be appropriate to allow post-complaint discovery
where documents requested are relevant to the claims and defenses in the case, especially where
the complaint alleges continuing violations”).

        In any event, even if it were proper to use the Complaint’s filing date, Microsoft completely
ignores the Daily News case, filed on April 30, 2024, and the CIR case, filed on June 27, 2024.
Since consolidation, the News Plaintiffs have collaborated to jointly propose search terms and
custodians to Defendants, and these search terms are being used to collect and review Defendants’
documents for production across all three cases. This approach has been productive in streamlining
discovery. However, applying a cutoff date that predates two of the three consolidated lawsuits
necessarily risks prejudicing the Daily News and CIR plaintiffs. Therefore, the cutoff should be
July 1, 2024, which is right after the final News case was filed (CIR), on June 27, 2024.

        Finally, Microsoft’s objection to this cutoff is particularly misplaced because this cutoff
will not result in any additional burden on Microsoft to review additional documents. The News
Plaintiffs’ proposed 600,000 cap would include any documents based on the July 2024 cutoff and
will count toward the 600,000 target cap.


                                                      Respectfully,

                                                      /s/ Ian Crosby
                                                      Ian B. Crosby
                                                      Susman Godfrey L.L.P.

                                                      /s/ Steven Lieberman
                                                      Steven Lieberman
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                                                      /s/ Matt Topic
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 cc:   All Counsel of Record (via ECF)




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